                      UNITED  STATES Document:
                      Case: 25-1555  COURT OF75APPEALS
                                                  Page: FOR
                                                        1   THE Filed:
                                                            Date THIRD   CIRCUIT
                                                                       05/21/2025

                                                        No. 25-1555

                           Atlas Data Privacy Corp., et al.     vs. We Inform LLC, et al.

                  ENTRY OF APPEARANCE

 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 See attached list
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                   ____ Appellant(s)               ____ Intervenor(s)

         ____ Respondent(s)                   ____ Appellee(s)                 ✔ Amicus Curiae
                                                                              ____

(Type or Print) CounseO’s Name T. Elliot Gaiser
                                ________________________________________________________________
                                     ✔ Mr.
                                   ____         ____ Ms.   ____ Mrs. ____ Miss ____ Mx.

Firm Ohio Attorney General's Office

Address 30 E. Broad St., Floor 17

City, State, Zip Code        Columbus, OH 43215


Phone 614.466.8980                                                     Fax 614.466.5870

Primary E-Mail Address (required) thomas.gaiser@ohioago.gov
Additional E-Mail Address (1) joshua.richardson@ohioago.gov
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /s/ T. Elliot Gaiser

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
        Case: 25-1555   Document: 75    Page: 2   Date Filed: 05/21/2025




                 LIST OF AMICI CURIAE REPRESENTED
States of Ohio, Alabama, Alaska, Arkansas, California, Colorado, Connecticut,
Delaware, Florida, Georgia, Idaho, Illinois, Indiana, Iowa, Kansas, Kentucky,
Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,
Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York, North
Carolina, North Dakota, Oklahoma, Pennsylvania, South Carolina, South Dakota,
Tennessee, Texas, Utah, Vermont, Virginia, and Wyoming, and the District of
Columbia
